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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KEVIN PHILLIPS and                          )
DASLYN HINTON                               )
on behalf of themselves                     )
all other similarly situations persons,     )
                                            )
      Plaintiff,                            )
                                            )      CIVIL ACTION NO.
                                            )      1:18-cv-05059-WMR
v.                                          )
                                            )
THE COCA-COLA COMPANY,                      )
                                            )
      Defendant.                            )


                                          ORDER

      This matter comes before the Court on Defendant The Coca-Cola Company’s

(“TCCC”) Motion to Compel Arbitration and Dismiss or Stay the Proceedings as to

the claims of Plaintiff Kevin Phillips (“Phillips”) [Doc. 6]. After receiving full

briefing from the parties, the Court heard oral argument on the motion on March 11,

2019. For the reasons set forth below, the motion is GRANTED.

I.    BACKGROUND

      This is a Fair Labor Standards Act “(FLSA”) collective action which is based

upon violations of the FLSA’s overtime provisions. Phillips is a former employee of
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the staffing agency Randstad Professionals US, LP (“Randstad”) which provided

Phillips to TCCC to provide certain services.

      As an employee of Randstad, on November 30, 2016, Phillips executed an

agreement entitled “Talent Agreement” whereby he agreed to provide temporary

professional services to one or more third party businesses which were customers of

Randstad (the “Talent Agreement”). On the same day, Phillips also executed an

agreement to submit to binding arbitration all disputes which, inter alia, related to

his employment by Randstad, his client assignments, or his wages and compensation

(the “Arbitration Agreement”). In this regard, and in relevant part, Plaintiff Phillips’

Arbitration Agreement provides as follows:

      As consideration for accepting or continuing my employment with
      Randstad, Randstad and I agree to use binding arbitration, instead of
      going to court, for any “covered claims” that arise between me and
      Randstad, its related companies, and/or their current or former
      employees.

      “Covered claims” are any legal claims that relate to my recruitment,
      hire, employment, client assignments and/or termination including, but
      not limited to, those concerning wages or compensation…

      I understand and agree that arbitration is the only forum for resolving
      covered claims, and that both Randstad and I are waiving the right to a
      trial before a judge or jury in federal or state court in favor of
      arbitration. I also agree that covered claims will only be arbitrated on
      an individual basis, and that both Randstad and I waive the right to
      participate in or receive money from any class, collective or
      representative proceeding. I may not bring a claim on behalf of other
      individuals, and any arbitrator hearing my claim may not combine more
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      than one individual’s claim or claims into a single case, or arbitrate any
      form of a class, collective, or representative proceeding…

      This agreement shall be governed by the Federal Arbitration Act and
      the Arbitration Act of the state in which I worked for Randstad. I agree
      that this agreement may be enforced and administered by a court of
      competent jurisdiction through the filing of a petition to compel
      arbitration…

The Talent Agreement also contains its own arbitration provision, which provides

as follows:

      Any irreconcilable controversy, dispute, misunderstanding, or claim
      arising out of or relating to this Agreement shall be settled through
      arbitration pursuant to the Agreement to Arbitrate, which is
      incorporated herein by reference.

      Phillips does not dispute that he was an employee of Randstad and rendered

services to TCCC as a Randstad employee. Additionally, it is undisputed that

Phillips was paid for the work he performed on behalf of TCCC by Randstad, not

TCCC. Phillips also does not dispute that, as a condition of his employment with

Randstad, he entered into the Talent Agreement, pursuant to which, he agreed to

provide temporary professional services to one or more third party businesses which

were customers of Randstad. He similarly does not dispute that, as a condition of

his employment with Randstad, he entered into the Arbitration Agreement.




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II.   CONTENTIONS OF PARTIES

      TCCC argues that Phillips should be compelled to arbitrate his FLSA claim

against TCCC because, (1) his claim falls squarely within the scope of the

agreements to arbitrate that he signed; (2) TCCC is entitled to invoke Phillips’

agreements to arbitrate in the Talent Agreement and the Arbitration Agreement

under the doctrine of equitable estoppel; and (3) TCCC is a third-party beneficiary

of Phillips’ promises to arbitrate in the Talent Agreement and the Arbitration

Agreement. Phillips, in turn, argues that (1) the claim he is asserting against TCCC

falls outside of the ambit of the arbitration provisions at issue; (2) the doctrine of

equitable estoppel does not apply to the facts of this case; and (3) TCCC is not a

third party beneficiary of Phillips’ agreements with Randstad to arbitrate.

II.   ANALYSIS

      A.     Federal Law Favors Arbitration

      The Federal Arbitration Act (the “FAA”) expressly provides that agreements

to arbitrate “shall be valid, irrevocable, and enforceable.” 9 U.S.C. § 2. The FAA

applies to any written arbitration agreement contained in a contract “evidencing a

transaction involving commerce.” Id. The Supreme Court has expansively construed

the phrase “involving commerce” as extending the FAA’s reach to the full limit of




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Congress’ Commerce Clause power. See Allied-Bruce Terminix Cos. v. Dobson,

513 U.S. 265, 268 (1995).

      “The principal purpose of the FAA is to ensur[e] that private arbitration

agreements are enforced according to their terms.”            AT&T Mobility LLC v.

Concepcion, 563 U.S. 333, 344 (2011) (internal quotation marks omitted). The FAA

both “embod[ies]” and “declare[s] a national policy favoring arbitration.” Id.;

Preston v. Ferrer, 552 U.S. 346, 353 (2008). The Supreme Court has interpreted the

FAA as reflecting both “a liberal federal policy favoring arbitration, and the

fundamental principle that arbitration is a matter of contract.” Concepcion, 563 U.S.

at 333 (citations and internal quotation marks omitted).           “In line with these

principles, courts must place arbitration agreements on an equal footing with other

contracts, and enforce them according to their terms.” Id. at 339 (citations omitted).

This purpose is readily apparent from the FAA’s text:

      Section 2 makes arbitration agreements valid, irrevocable, and
      enforceable as written []; § 3 requires courts to stay litigation of arbitral
      claims pending arbitration of those claims in accordance with the terms
      of the agreement; and § 4 requires courts to compel arbitration in
      accordance with the terms of the agreement upon the motion of either
      party to the agreement.

Id. at 344 (internal quotations omitted).

      The Supreme Court has recognized this strong public policy in favor of

arbitration. See, e.g., id. at 339 (Section 2 of the FAA reflects both a “liberal federal

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policy favoring arbitration” and the “fundamental principle that arbitration is a

matter of contract”); Am. Exp. Co. v. Italian Colors Rest., 133 S. Ct. 2304, 2309

(2013) (recognizing the pro-arbitration purposes of the FAA and noting “courts must

‘rigorously enforce’ arbitration agreements according to their terms”); Green Tree

Fin. Corp.-Ala. v. Randolph, 531 U.S. 79, 89 (2000) (quoting Gilmer v.

Interstate/Johnson Lane Corp., 500 U.S. 20, 24 (1991)) (enforcing agreement to

arbitrate and holding that Congress intended the FAA “to reverse the longstanding

judicial hostility to arbitration agreements . . . and to place arbitration agreements

upon the same footing as other contracts”); see also Paladino v. Avnet Computer

Techs., Inc., 134 F.3d 1054, 1057 (11th Cir. 1998) (“The FAA creates a presumption

in favor of arbitrability; so, parties must clearly express their intent to exclude

categories of claims from their arbitration agreement.”).

      As the Supreme Court has emphasized,

      any doubts concerning the scope of arbitrable issues should be resolved
      in favor of arbitration, whether the problem at hand is the construction
      of the contract language itself or an allegation of waiver, delay, or a like
      defense to arbitrability.

Jones v. Waffle House, Inc., 866 F.3d 1257, 1264 (11th Cir. 2017) (citing Moses H.

Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24–25 (1983)). Georgia

law is in accord. See Helms v. Franklin Builders, Inc., 700 S.E.2d 609, 611 (Ga. Ct.

App. 2010) (“By enacting the [Georgia Arbitration Code], the Georgia General
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Assembly has established a clear public policy in favor of arbitration.”).

      To further the FAA’s purposes, the Supreme Court has emphasized that courts

should interpret arbitration clauses liberally in favor of arbitration. See Mercury

Constr. Corp., 460 U.S. 1, 24-25 (“any doubts concerning the scope of arbitrable

issues should be resolved in favor of arbitration”). Thus, the FAA requires courts to

“rigorously enforce” agreements to arbitrate. Klay v. All Defendants, 389 F.3d 1191,

1200 (11th Cir. 2004) (quoting Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213,

221 (1985)).

      The Supreme Court has noted that Congress’ intent was that the FAA should

“move the parties to an arbitrable dispute out of court and into arbitration as quickly

and easily as possible.” Preston, 552 U.S. at 357. (Citations omitted). “A prime

objective of an agreement to arbitrate is to achieve streamlined proceedings and

expeditious results.” Concepcion, 563 U.S. at 346 (internal quotations omitted).

The Eleventh Circuit previously explained,

      the FAA requires a court to either stay or dismiss a lawsuit and to
      compel arbitration upon a showing that (a) the plaintiff entered into a
      written arbitration agreement that is enforceable “under ordinary state-
      law” contract principles and (b) the claims before the court fall within
      the scope of that agreement.

Lambert v. Austin Ind., 544 F.3d 1192, 1195 (11th Cir. 2008) (citing 9 U.S.C. §§ 2–

4).


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      B.     Phillips’ FLSA Claim Falls Within the Scope of the Arbitration
             Agreements He Signed

      The Arbitration Agreement specifically references the intention that it be

enforceable under the FAA, stating that any “covered claims” shall be subject to

“binding arbitration” and that the Arbitration Agreement “shall be governed by the

[FAA] and the Arbitration Act of the state in which [Plaintiff Phillips] worked for

Randstad.” See Arbitration Agreement, p. 1. Covered claims, as defined by the

Arbitration Agreement, expressly include “any legal claims that relate to [Phillips’]

…employment, client assignments and/or … wages and compensation.”                See

Arbitration Agreement, p. 1-2. It is well settled that the word “any” should be

interpreted broadly in the context of a motion to compel arbitration. See, e.g.,

Bullard v. Capital One. F.S.B., 288 F. Supp. 2d 1256, 1258 (N.D. Fla. 2003) (reading

“any legal claim…regarding” “clause as a “very broad grant” and “not limiting the

scope of arbitration in any way”).

      When Phillips executed the Talent Agreement and the Arbitration Agreement,

he agreed to be employed by Randstad and, by virtue of such employment, to provide

services to its third-party Customers/clients. He was then assigned by Randstad to

provide services to TCCC as a “Customer” of Randstad under the Talent Agreement.

In light of these undisputed facts, TCCC was a Randstad-related company under the

Arbitration Agreement.

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      Moreover, Phillips’ agreement to arbitrate “any legal claims that relate to

[his]…employment [or] client assignments,” would make little sense if such claims

did not include claims against the client to which he was assigned to work.

Logically, to the extent any such claims might arise during Phillips’ employment

with Randstad to provide professional services to third-party Customers, such claims

would almost certainly involve those Customers who, necessarily, are companies

“related to” Randstad.

      For these reasons, the Court concludes that Phillips’ FLSA claim against

TCCC falls within the scope of his agreement to arbitrate in the Arbitration

Agreement. The Court reaches the same conclusion regarding Phillip’s agreement

to arbitrate in the Talent Agreement. In addition to expressly incorporating the

Arbitration Agreement by reference, the Talent Agreement also contains clear

language that defines the scope of the claims that are subject to arbitration under the

Talent Agreement itself – those “arising out of or relating to this Agreement.” The

Talent Agreement similarly makes clear, that the nature of Phillips’ employment

with Randstad would involve his assignment to customers of Randstad, which

means, that any disputes arising out of assignments – regardless of the defendant

that Phillips chooses to name – are subject to arbitration, pursuant to Paragraph 18(a)

of the Talent Agreement. Paragraphs 1 and 2 of the Talent Agreement, for example,


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provide that Phillips, by virtue of his at-will employment with Randstad, would

provide “temporary professional services to one or more third party businesses

(‘Customer’) on behalf of Randstad.” [Doc. 6-2] Ex. A, ¶¶ 1-2. Paragraph 1 also

specifies that the services Phillips would perform for Randstad “Customers” would

be referred to as “Contract Assignments.” Id. at Ex. A, ¶ 1. Other paragraphs in the

Talent Agreement set forth requirements and expectations for Phillips during his

Contract Assignments with Randstad-related companies, and even provide benefits

to such third-party Customers. In addition, the Talent Agreement contains a specific

provision regarding reporting overtime hours, which is the precise basis for the claim

he is attempting to assert against TCCC.

      Thus, the Talent Agreement sets forth the very terms of Phillips’ assignment

to provide professional services to TCCC (including terms relating to reporting and

being properly paid for all hours worked), which was the entire nature of his

employment with Randstad. It is therefore beyond dispute that the claim he is

attempting to assert against TCCC in this action arises out of or relates to the Talent

Agreement. Therefore, Phillips’ Claim is subject to mandatory arbitration under

Paragraph 18(a) of that agreement.




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      C.     The Doctrine of Equitable Estoppel Requires Phillips to Arbitrate
             His Claim Against TCCC

      Phillips’ FLSA claim against TCCC is also subject to mandatory arbitration

on the basis of equitable estoppel. “Equitable estoppel allows a non-signatory to an

arbitration agreement to compel or to be compelled by a signatory to arbitrate under

certain circumstances in which fairness requires doing so.” Lawson v. Life of the S.

Ins. Co., 648 F.3d 1166, 1172 (11th Cir. 2011). As set forth by the Supreme Court,

the scope, validity and enforceability of arbitration agreements, including the right

of non-signatories to compel arbitration, is governed by state contract law. Arthur

Andersen, LLP v. Carlisle, 556 U.S. 624, 631, (2009). In Georgia, following the

principles set forth by the Eleventh Circuit in MS Dealer Serv. Corp. v. Franklin,

177 F.3d 942 (11th Cir. 1999), courts have applied equitable estoppel in cases in two

different circumstances:

      [E]quitable estoppel applies when the signatory to a written agreement
      containing an arbitration clause must rely on the terms of the written
      agreement in asserting its claims against the nonsignatory. . . . [Also],
      application of equitable estoppel is warranted when the signatory to the
      contract containing the arbitration clause raises allegations of
      substantially interdependent and concerted misconduct by both the
      nonsignatory and one or more of the signatories to the contract.

Price v. Ernst & Young, LLP, 274 Ga. App. 172, 175-76 (2005) (quoting MS Dealer,

177 F.3d at 947). In Price, because Price’s fraud claims against the non-signatory

defendants directly related to the agreement signed by Price that contained the

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arbitration clause, the Georgia appellate court agreed with the trial court that Price

was equitably estopped from denying that the arbitration clause applied to his claims.

Id. at 176; see also Order Homes, LLC v. Iverson, 300 Ga. App. 332, 338-39, 685

S.E.2d 304, 310 (2009) (where plaintiffs’ claims for construction defects arose under

and relied upon agreement containing arbitration clause, equitable estoppel applied

to prevent plaintiffs from avoiding arbitration with non-signatory appellants);

Autonation Fin. Servs. Corp. v. Arain, 264 Ga. App. 755, 761, 592 S.E.2d 96, 101

(Ga. Ct. App. 2003) (equitable estoppel justified where signatory plaintiff’s single

RICO claim was “sufficiently related” to arbitration contract); Wallace v. Rick Case

Auto., Inc., 979 F. Supp. 2d 1343, 1348 (N.D. Ga. 2013) (non-signatory defendant

could enforce arbitration where employment-based claims against defendant were

clearly related to employment relationship memorialized in agreement containing

arbitration clause); Stalzer v. BDO Seidman LLP (In re Watson), No. 1:05-cv-1117-

WSD, 2006 U.S. Dist. LEXIS 97834, at *12-13 (N.D. Ga. Mar. 27, 2006) (where

plaintiffs’ claims were fundamentally related to Consulting Agreement containing

arbitration provision, plaintiffs could not avoid arbitration with non-signatory

defendant).

      In addition, a non-signatory can compel arbitration “where there is a requisite

nexus of the claim to the contract together with an integral relationship between the


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non-signatory and the other contracting party.” Precision Funding Grp., LLC v.

Nat’l Fid. Mortg., No. 12-5054 (RMB/JS), 2013 U.S. Dist. LEXIS 76609, at *14

(D.N.J. May 31, 2013) (internal quotation and citation omitted); see also, e.g., Ortiz

v. Volt Mgmt. Corp., No. 16-cv-07096-YGR, 2017 U.S. Dist. LEXIS 85149, at *4,

6 (N.D. Cal. June 2, 2017) (under theory of equitable estoppel, court found it was

“appropriate to allow the nonsignatory defendant to compel plaintiff into arbitration

because his claims were intimately founded in and intertwined with his employment

relationship with the signatory staffing agency”) (internal quotations omitted);

Norcom Elecs. Corp. v. CIM USA Inc., 104 F. Supp. 2d 198, 203 (S.D.N.Y. 2000)

(recognizing that the Second Circuit as well as several other circuits have estopped

a signatory from avoiding arbitration with a nonsignatory when the issues the

nonsignatory is seeking to resolve in arbitration are intertwined with the agreement

that the estopped party has signed).

      Here, a nexus and intricate connection clearly exists between Randstad and

TCCC. Furthermore, Phillips’ FLSA claim relies on the Talent Agreement and the

Arbitration Agreement. In fact, his work assignment with TCCC, that is at the heart

of his FLSA claim, would not have occurred but for Phillips’ employment

relationship with Randstad, the terms of which are set forth in the Talent Agreement

and the Arbitration Agreement. TCCC is a “Customer” of Randstad, to whom


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Randstad provides temporary workers and confers benefits through its Talent

Agreements and Arbitration Agreements with Randstad employees. Phillips himself

recognizes the integral and dependent relationship between Randstad and TCCC in

his response, acknowledging that Randstad “facilitated Phillips’ temporary

assignment with TCCC and cut Phillips’ paychecks.” [Doc. 8] ⁋ 8.

      Phillips’ reliance on Lawson v. Life of the S. Ins. Co., 648 F. 3d 1166 (11th

Cir. 2011) is misplaced. In that case, the plaintiffs brought tort and contract claims,

alleging that the defendant did not fulfill contractual obligations from a different

contract than the one containing the arbitration agreement. Id. at 1172. Here,

Phillips is bringing a claim against TCCC based on his employment relationship

with Randstad that is the very subject of the Talent Agreement and the Arbitration

Agreement.

       Thus, for the reasons stated above, the Court also finds that Phillips should

be compelled to arbitrate his FLSA claim against TCCC based on the doctrine of

equitable estoppel.

      D.     Phillips is also Required to Arbitrate his Claim Because TCCC is a
             Third-Party Beneficiary of the Talent Agreement and Arbitration
             Agreement

      Phillips must also arbitrate his FLSA claim against TCCC because TCCC is

a third-party beneficiary of the Talent Agreement and the Arbitration Agreement. It


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is well established that “a non-party to a contract containing an arbitration clause

may compel parties to the contract to arbitrate if it is determined the non-party is a

third-party beneficiary to the contract.” Mason v. Midland Funding LLC, No. 1:16-

cv-02867-LMM-RGV, 2018 U.S. Dist. LEXIS 133530, at *52 (N.D. Ga. May 25,

2018) (quoting Mims v. Glob. Credit & Collection Corp., 803 F. Supp. 2d 1349,

1354 (S.D. Fla. 2011)).

      The recent factually analogous case of Berryman v. Newalta Envtl. Servs.,

Civil Action No. 18-793, 2018 U.S. Dist. LEXIS 186789 (W.D. Pa. Nov. 1, 2018)

is instructive. In that case, plaintiff Berryman worked for Smith Management, a

staffing company, and as part of that employment, performed services for Newalta.

Berryman signed a contract with Smith Management, including an arbitration

agreement. Berryman filed a federal court action against Newalta, claiming that he

worked for Newalta and that he, and other similarly situated workers, regularly

worked more than 40 hours per week and were, therefore, entitled to overtime pay

under the FLSA. In response, Newalta moved to compel arbitration, asserting that

Berryman should be compelled to submit his claim to binding arbitration based on

the arbitration agreement he signed with Smith Management.

      Determining that the crux of Berryman’s case was whether Newalta, as a non-

signatory to the agreement between Berryman and Smith Management, was a third-


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party beneficiary under the agreement (Id. at *6), the Court found that “[a] third-

party beneficiary to a contract can compel or be compelled to arbitrate under an

arbitration provision in a contract.” Id. at *13 (citation omitted). Even though

Newalta was not specifically named in the arbitration agreement, the Court found

that Newalta was indeed a third-party beneficiary of the signatories’ contract and, as

such, had standing to compel Berryman to arbitrate his claims against Newalta under

the arbitration agreement Berryman signed with Smith Management. Id. at *20.

      Similar to Berryman, Randstad is a staffing agency that hired Phillips for the

sole purpose of placing him in a work assignment with customers of Randstad, in

this case TCCC. It was a condition of Phillips employment with Randstad that he

agree to provide temporary services to Randstad customers and enter into the Talent

Agreement and Arbitration Agreement, which provide that any disputes relating to

his employment by Randstad, his work assignments and his wages and

compensation, would be subject to binding arbitration and could not be the subject

of a claim in court. Based on these facts and circumstances, TCCC is an intended

third-party beneficiary of the Talent Agreement and the Arbitration Agreement

between Phillips and Randstad, and, therefore, has the right to enforce Phillips’

agreement to arbitrate.




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      Phillips concedes that Berryman is analogous to this case, but attempts to

distinguish Berryman because the arbitration agreement in that case covered claims

“against the Company and/or…against any Company client.” [Doc. 8] ⁋ 13. But

the Talent Agreement signed by Phillips requires arbitration of all claims “arising

out of or relating to” that agreement. In addition, the Arbitration Agreements cover

claims that arise between Phillips and Randstad-related companies, and it is clear

from those Agreements, that any third-party customer of Randstad is a Randstad-

related company under the Agreements. TCCC is a Randstad customer, and,

therefore, TCCC is a Randstad-related company under the Agreements. TCCC is,

thus, a third-party beneficiary of both agreements. See Collins v. Int’l Dairy Queen,

2 F. Supp. 2d 1465, 1469 (M.D. Ga. 1998) (where underlying contract clearly

conferred benefits on non-signatories, third-party beneficiaries were entitled to

enforce the arbitration provisions of contract); Merrill Lynch, Pierce, Fenner &

Smith Inc. v. Coors, 357 F. Supp. 2d 1277, 1279-80 (D. Colo. 2004) (recognizing

that nonparty agents and third-party beneficiaries have standing to compel

arbitration); Mut. Benefit Life Ins. Co. v. Zimmerman, 783 F. Supp. 853, 865 (D.N.J.

1992) (nonsignatories of contract may compel arbitration or be subject to arbitration

if the nonparty is an agent of a party or a third party beneficiary to the contract).




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III.   Conclusion

       For the reasons set forth above, TCCC’s motion to compel arbitration as to

Phillips’ claim in this case is GRANTED. Phillips is hereby ORDERED to submit

his claims against TCCC to arbitration pursuant to the terms of the Talent Agreement

and Arbitration Agreement, and all of Phillips’ claims in this action are hereby

DISMISSED WITHOUT PREJUDICE.



       So Ordered this 9th day of April, 2019.




                                              ____________________________
                                              William M. Ray, II
                                              U.S. District Court Judge




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